                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION


In the Matter of:             )
                              )               Case Number: 19-81521-CRJ-7
AVERY ALAN MITCHELL,          )
Debtor                        )               Chapter 7
______________________________)
                              )
KIMBERLY MITCHELL,            )
                              )
       Plaintiff,             )               AP Case Number: 19-80077-JAC
v.                            )
                              )
AVERY ALAN MITCHELL,          )
                              )
       Defendant.             )

                                            ANSWER

       COMES NOW, Debtor, AVERY ALAN MITCHELL, by and through his attorney of
record and for answer to Creditor, KIMBERLY MITCHELL’s Complaint to Determine Debts to
be Nondischargable, would say as follows:

      1. The Defendant denies the material allegations in the Plaintiff’s Complaint and
demands strict proof thereof.

         WHEREFORE, THE PREMISES CONSIDERED, the Defendant prays for the following
relief, to-wit: this Court to deny the relief sought by the Plaintiff in her Complaint and discharge
this debt.


                                              Respectfully Submitted,

                                              /s/ S. Mitchell Howie
                                              S. Mitchell Howie
                                              Attorney for Debtor
                                              107 North Side Square
                                              Huntsville, AL 35801
                                              (HOW022)
                                              (256) 533-2400




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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have served the attached Answer to the following parties:

       Richard M. Blythe
       US Bankruptcy Administrator
       P.O. Box 3045
       Decatur, AL 35602
       Richard _Blythe@alnba.uscourts.gov

       Melissa W. Larsen
       Attorney for Plaintiff/Kimberly Mitchell
       521 Madison Street, Suite 201
       Huntsville, AL 35801
       Mwlarsen67@gmail.com

via the Court’s CM/ECF Filing System and/or U.S. Mail on this, the 26th day of September,
2019.



                                             /s/ S. Mitchell Howie
                                             S. Mitchell Howie




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